                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 NO: 3:04CR201

UNITED STATES OF AMERICA,                 )
          Plaintiff                       )
                                          )
vs.                                       )                            ORDER
                                          )
VINTAGE PHARMACEUTICALS, INC.             )
WILLIAM PROPST, SR.,                      )
WILLIAM PROPST, JR., and                  )
QUALITEST PHARMACEUTICALS, INC.,          )
            Defendants.                   )
__________________________________________)

       THIS MATTER IS BEFORE THE COURT in preliminary response to the “Defendants’

Motion to Compel Discovery” (“Motion to Compel”) (Document No. 103), filed March 25, 2005

by Vintage Pharmaceuticals, Inc. (“Vintage”), Qualitest Pharmaceuticals, Inc. (“Qualitest”), William

Propst, Sr. and William Propst, Jr. (collectively with Mr. Propst, Sr., the “Propsts”); the

“Government’s Opposition to Vintage’s Motion to Compel Discovery” (Document No. 112), filed

June 8, 2005 by the United States of America; and the “Defendants’ Reply in Support ...” (Document

No. 114), filed June 17, 2005 by Vintage, Qualitest and the Propsts. A hearing on the Motion to

Compel shall be held in front of the undersigned on Thursday, August 18, 2005 at 2:00 P.M.

       IT IS SO ORDERED.




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                        Signed: August 5, 2005




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